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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:16-MJ-00028-KJN-002
12                                 Plaintiff,             [PROPOSED] FINDINGS AND ORDER
                                                          EXTENDING TIME FOR PRELIMINARY
13                           v.                           HEARING PURSUANT TO RULE 5.1(d) AND
                                                          EXCLUDING TIME
14   RALEIGH R. FIGUERAS, and
     MICHELE REYES SERRANO,                               DATE: February 26, 2016
15                                                        TIME: 2:00 p.m.
                                  Defendants.             COURT: Hon. Allison Claire
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17
            The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing
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     Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on February 23, 2016.
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     The Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,
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     demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule
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     5.1(d) of the Federal Rules of Criminal Procedure.
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            Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests
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     of justice served by granting this continuance outweigh the best interests of the public and the defendant
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     in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would
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     not adversely affect the public interest in the prompt disposition of criminal cases.
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            THEREFORE, FOR GOOD CAUSE SHOWN:
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            1. The date of the preliminary hearing is extended to March 3, 2016, at 2:00 p.m.
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      [PROPOSED] FINDINGS AND ORDER                        1
              Case 2:16-cr-00045-TLN Document 13 Filed 02/24/16 Page 2 of 2


 1          2. The time between February 26, 2016, and March 3, 2016, shall be excluded from calculation

 2 pursuant to 18 U.S.C. § 3161(h)(7)(A).

 3          3. Defendants shall appear at that date and time before the Magistrate Judge on duty.

 4          IT IS SO ORDERED.

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 6 Dated:     February 23, 2016
                                                            The Honorable Allison Claire
 7                                                          UNITED STATES MAGISTRATE JUDGE
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      [PROPOSED] FINDINGS AND ORDER                     2
